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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 07-22459-CIV-COHN/SELTZER
                         CASE NO. 08-21063-CIV-COHN/SELTZER

  ELOY ROJAS MAMANI, et al.,

          Plaintiffs,

  v.

  JOSÉ CARLOS SÁNCHEZ BERZAÍN,

          Defendant in No. 07-22459,

  GONZALO DANIEL SÁNCHEZ DE
  LOZADA SÁNCHEZ BUSTAMANTE,

       Defendant in No. 08-21063.
  __________________________________/

       ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS’ MOTION TO
          ALLOW TESTIMONY AT TRIAL BY VIDEOCONFERENCE, OR IN THE
                 ALTERNATIVE, TO ALLOW TRIAL DEPOSITIONS

          THIS CAUSE is before the Court upon Plaintiffs’ Motion to Allow Testimony at

  Trial by Videoconference, or in the Alternative, to Allow Trial Depositions [DE 393 in

  Case No. 07-22459; DE 369 in Case No. 08-21063] (“Motion”). The Court has carefully

  considered the Motion, Defendants’ Response and Plaintiffs’ Reply, the parties’ related

  submissions, the arguments of counsel at a hearing held on February 16, 2018, and the

  record in these cases, and is otherwise advised in the premises. Accordingly, it is

          ORDERED AND ADJUDGED that Plaintiffs’ Motion to Allow Testimony at Trial

  by Videoconference, or in the Alternative, to Allow Trial Depositions [DE 393 in Case

  No. 07-22459; DE 369 in Case No. 08-21063] is GRANTED in part and DENIED in

  part as follows:
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         1.     Plaintiffs’ Motion is DENIED insofar as it requests that the Court permit the

  use of videoconference testimony at trial. For the reasons stated on the record at the

  hearing on the Motion, Plaintiffs have failed to show “good cause in compelling

  circumstances” for allowing the testimony by contemporaneous videoconference of any

  Bolivian witnesses at trial. See Fed. R. Civ. P. 43(a).

         2.     The Court will, however, GRANT in part Plaintiffs’ Motion and permit

  videoconference trial depositions to be taken of certain of Plaintiffs’ Bolivian witnesses.

  Specifically, based on Plaintiffs’ representations at the hearing on the Motion, the Court

  will permit the video conference depositions of the following four witnesses, pursuant to

  the procedures set forth in this Order: Luis Alfredo Castaño Romero, Wilson Gonzalo

  Soria Paz, Edwin Aguilar Vargas, and Waldo Albarracín. If any of these four witnesses

  obtain a visa prior to Wednesday, February 21, 2018 to appear in-person at the trial of

  these cases, then Plaintiffs may take the video conference deposition of Juan Carlos

  Pari in lieu of any of the four witnesses listed above who has obtained a visa by that

  date. These depositions shall be conducted as follows:

                a. The depositions shall take place no earlier than Wednesday,

                   February 21, 2018, and no later than Friday, February 23, 2018 in

                   Quito, Ecuador;

                b. Each party is limited to one and a half hours of questioning per

                   witness, with Plaintiffs permitted to divide their time between direct and

                   re-direct examination, and Defendants permitted one and a half hours

                   for cross examination;




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               c. Plaintiffs shall be responsible for the transportation of witnesses to an

                   appropriate location in Quito, Ecuador for the depositions and shall

                   confer with Defendants’ counsel regarding the times for the

                   depositions; and

               d. Plaintiffs shall pay the travel costs for one of Defendants’ attorneys.

        3.     Except as specifically provided above, Plaintiffs’ Motion to Allow

  Testimony at Trial by Videoconference, or in the Alternative, to Allow Trial Depositions

  [DE 393 in Case No. 07-22459; DE 369 in Case No. 08-21063] is DENIED.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, this 16th day of February, 2018.




  Copies provided to counsel of record via CM/ECF




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